AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Missouri

Ted Entertainment, Inc.,
Plaintiffs)

v. Civil Action No, 4:25-cv-459

Kacey Caviness p/k/a Kaceytron; Dees 1-10,
Defendant(s)

Smee” me” Ne ree Ne eh Se Me Nee Oe” Ce ee”

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Kacey Caviness p/k/a Kaceytron
2512 SW Paris Drive
Blue Springs, Missouri 64015

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (aX2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

dames J. Kernell Rom Bar-Nissim

AVEK IP, LLC Heah Bar-Nissim LLP

7285 West 132nd Street, Ste. 340 1801 Century Park East, Ste. 2400
Overland Park, KS 66213 Los Angeles, CA 90067

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 06/20/2025 Wham

Signature of Clerk or Deputy Clerk

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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
Western District of Missouri

Case Number: 4:25-C\V/459

Plaintifi/Petitioner:
TED ENTERTAINMENT, INC.

vs.

Defendant/Respondent:
KACEY CAVINESS p/k/a KACEYTRON, et al.

Received by HPS Process Service & Investigations to be served on Kacey Caviness p/k/a Kaceytron, 2512
Southwest Paris Drive, Blue Springs, MO 64015.

Il, CHERYL RICHEY, do hereby affirm that on the 25th day of June, 2025 at 12:31 pm, I:

SUBSTITUTE SERVED the within named person by leaving a true copy of the Summons in a Civii Action;
Complaint for Copyright Infringement; Exhibits A-H; Flash Drive; Certification and Notice of Interested
Parties; Notice of Lodging ef Flash Drive Containing Video Exhibits to Compliant; Notice of Inclusion in the
Mediation and Assessment Program; General Order; and Notice at the within named person's usual place of
abode to a person residing therein who is of suitable age to-wit: Craig Caviness, Co-Resident/Father, at the
address of 2512 Southwest Paris Drive, Blue Springs, MO 64015 and informing said persons of the contents therein.

Additional Information pertaining to this Service:

6/25/2025 12:31 pm Subserved to Craig Caviness, co-resicent and father, at 2512 Southwest Paris Drive, Blue
Springs, MO 64015.

Presence of flash drive taped to green paper pointed out to Mr. Craig Caviness.

A copy of the documents were mailed on 6/26/2025 in an envelope marked personal and confidential to Kacey
Caviness p/k/a Kaceytron at 2512 Southwest Paris Drive, Blue Springs, MO 64015. No flash drive was mailed.

| certify that | have no interest in the above action, am of legal age and have proper authority in the jurisdiction in
which this service was made. | declare under penalty of perjury that the foregoing is true and correct.

Lo

CHERYL RICHEY
Process Server

HPS Process Service & Investigations
www.hpsprocess.com

1669 Jefferson

Kansas City, MO 64108

(800) 796-9559

Our Job Serial Number: HAT-2025010600
Ref: 5567.001

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